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ALAN R. SMITH, ESQ. #1449

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Counsel for Debtors

UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEVADA
—oo0000—
In Re: Case No. BK-N-14-50333-BTB
Case No. BK-N-14-50331-BTB
ANTHONY THOMAS and Chapter 11 Cases

WENDI THOMAS,
[Jointly Administered]

AT EMERALD, LLC, NOTICE OF ENTRY OF ORDER
APPROVING STIPULATION TO
CONTINUE HEARINGS ON US
Debtors. TRUSTEE’S OBJECTIONS TO
DEBTOR’S CLAIMS OF

EXEMPTIONS AND US TRUSTEE’S
MOTION TO DESIGNATE CASE AS

SMALL BUSINESS CASE

New Hearing Date: September 10, 2014

/ New Hearing Time: 2:00 p.m.

 

PLEASE TAKE NOTICE that the above-entitled Court entered an Order Approving
Stipulation To Continue Hearings On US Trustee’s Objections To Debtor’s Claims of
Exemptions and US Trustee’s Motion To Designate Case As Small Business Case [DE 134]
on the 21* day of July, 2014 (“Order”). A copy of said Order is attached hereto as Exhibit

“A” and made a part hereof.
DATED this 22™ day of July, 2014.
LAW OFFICES OF ALAN R. SMITH
By: /s/ Alan R. Smith

ALAN R. SMITH, ESQ.
Attorney for Debtors

H:AThomas\Mot Desig Case\NOE Ord Stip Cont Hrg Mot Desig & Obj Clm Exemp 072214-rmb.wpd

 
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1
3 Honorable Bruce T. Beesley
United States Bankruptcy Judge
+ tered on Docket
duly 21, 2014
6 || ALAN R. SMITH, ESQ. #1449
HOLLY E. ESTES, ESQ. #11797
7 || Law Offices of Alan R. Smith
505 Ridge Street ELECTRONICALLY LODGED
8 | Reno, Nevada 89501 July 16, 2014
Telephone (775) 786-4579
9 || Facsimile (775) 786-3066
Email: mail@asmithlaw.com
10 | Attorney for Debtors
ANTHONY THOMAS and WENDI
11 | THOMAS and AT EMERALD, LLC
12
13
14 UNITED STATES BANKRUPTCY COURT
15 DISTRICT OF NEVADA
16 —oo00o00—
17 | In Re: Case No. BK-N-14-50333-BTB
Case No. BK-N-14-50331-BTB
18 | ANTHONY THOMAS and Chapter 11 Cases
WENDI THOMAS,
19 [Jointly Administered]
20 || AT EMERALD, LLC, ORDER APPROVING STIPULATION
TO CONTINUE HEARINGS ON US
21 TRUSTEE’S OBJECTIONS TO
DEBTOR’S CLAIMS OF
22 Debtors. EXEMPTIONS AND US TRUSTEE’S
MOTION TO DESIGNATE CASE AS
23 SMALL BUSINESS CASE
24 VACATE
Old Hearing Date: July 30, 2014
25 Old Hearing Time: 2:00 p.m.
26 New Hearing Date: September 10, 2014
New Hearing Time: 2:00 p.m.
27 /
28 The Court having considered the Stipulation To Continue Hearing On US Trustee’s
Law Offices of
ALAN R. SMITH
505 Ridge Street
Norns) ea HAThomas\Mot Desig Case\Ord Stip Cont Hrg Mot Desig & Obj Clm Exemp 071614-1mb.wpd KH iB IT “ A 33

 
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Objections To Debtor’s Claims Of Exemptions And US Trustee’s Motion To Designate Case
As Small Business Case (the “Stipulation”) entered into between Debtors, ANTHONY
THOMAS and WENDI THOMAS, by and through their counsel, Holly E. Estes, Esq., of the
Law Offices of Alan R. Smith, and the United States Trustee, by and through her counsel
William B. Cossitt, Esq., filed herein on July 16, 2014 as Doc. 122, and good cause
appearing,

IT IS HEREBY ORDERED that the Stipulation is approved and the hearing currently
scheduled for July 30, 2014 at 2:00 p.m. shall be continued to September 10, 2014 at 2:00

Oo FH SN DH A FP WD WN

p-m.

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So

IT IS HEREBY FURTHER ORDERED that the hearing scheduled for July 30, 2014

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at 2:00 p.m. shall be vacated.

IT IS SO ORDERED
PREPARED AND SUBMITTED BY:
LAW OFFICES OF ALAN R. SMITH
By: /s/ Holly E. Estes

HOLLY E. ESTES, ESQ.
Attorney for Debtors

FP Fe eS eS
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HH

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